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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                              Case No. 17-cv-60453-BLOOM/Valle


 DAVE FERRIS,

        Plaintiff,

 v.

 I.C. SYSTEM, INC.,

       Defendant.
 ________________________________________/

                                FINAL ORDER OF DISMISSAL

        THIS CAUSE is before the Court upon the parties’ Joint Stipulation of Dismissal

 Without Prejudice (“Stipulation”), ECF No. [15]. The Court having considered the Stipulation

 and being otherwise duly informed therein, it is

        ORDERED AND ADJUDGED that the parties’ Stipulation, ECF No. [15], is

 APPROVED and ADOPTED, and the matter is DISMISSED WITHOUT PREJUDICE. To

 the extent not otherwise disposed of, all pending motions are DENIED as moot, and all pending

 deadlines are VACATED. The Clerk is directed to CLOSE this case.

        DONE AND ORDERED in Miami, Florida, this 15th day of May, 2017.




                                                    BETH BLOOM
                                                    UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record
